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   United States of America
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 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA,                         CASE NO. 2:16-CR-00025-TLN
12                                    Plaintiff,     STIPULATION REGARDING SAFETY
                                                     VALVE ELIGIBILITY; ORDER
13                             v.
                                                     DATE: August 17, 2017
14 ARNULFO SANCHEZ,                                  TIME: 9:30 a.m.
                                                     COURT: Hon. Troy L. Nunley
15                                    Defendant.
16

17                                               STIPULATION

18         1.      On February 11, 2016, the defendant, Arnulfo Sanchez, and nine others were

19 indicted by a federal grand jury. (Indictment, Doc. 10.) The defendant was charged, inter

20 alia, in Count Five with Distribution of Methamphetamine, in violation of 21 U.S.C.
21 § 841(a)(1). (Id.) Count Five of the Indictment carried a mandatory minimum sentence of

22 at least five years incarceration absent safety valve eligibility under 18 U.S.C. § 3553(f).

23 (Id.; see also 21 U.S.C. § 841(b)(1)(B).)

24         2.      On August 17, 2017, the parties appeared before the Court for Judgment and

25 Sentencing. (Sentencing Minutes, Doc. 163.) At the sentencing hearing, the Court

26 sentenced the defendant, Arnulfo Sanchez, to a term of incarceration of 48 months. (Id.)
27 The 48-month sentence was consistent with the plea agreement between the parties. (Plea

28 Agreement, Doc. 129.)

      STIPULATION RE: SAFETY VALVE ELIGIBILITY        1
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 1        3.      Although the parties jointly agree that the defendant is safety valve eligible,

 2 the parties neglected to ask the Court to make the explicit finding at the sentencing

 3 hearing.

 4        4.      Accordingly, the parties agree and stipulate, and request that the Court find

 5 that the defendant, Arnulfo Sanchez is safety valve eligible pursuant to 18 U.S.C. § 3553(f)

 6 based on the fact that:

 7                a)      The defendant does not have more than 1 criminal history point.

 8        (Presentence Investigation Report (“PSR”), Doc. 153 at ¶ 35.)

 9                b)      The defendant did not use violence or possess a firearm or other

10        dangerous weapon in connection with the offense. (PSR at ¶¶ 5-13.)

11                c)      The offense did not result in death or serious bodily injury to any

12        person.

13                d)      The defendant was not an organizer, leader, manager, or supervisor of

14        others. (PSR at ¶ 14.)

15                e)      The defendant provided all information and evidence the defendant

16        has concerning the offense.

17        IT IS SO STIPULATED.

18 Dated: August 29, 2017              PHILLIP A. TALBERT
                                       United States Attorney
19

20                                     /s/ JUSTIN L. LEE
                                       JUSTIN L. LEE
21                                     Assistant United States Attorney
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23 Dated: August 29, 2017               /s/ JESSE I. SANTANA (as authorized on 8/29/2017)
                                        JESSE I. SANTANA
24
                                        Counsel for Defendant
25                                      Arnulfo Sanchez

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     STIPULATION RE: SAFETY VALVE ELIGIBILITY        2
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1                                        FINDINGS AND ORDER

2          IT IS SO FOUND AND ORDERED this 31st day of August, 2017.

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4 Dated: August 31, 2017

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7
                                                     Troy L. Nunley
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                                                     United States District Judge
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     STIPULATION RE: SAFETY VALVE ELIGIBILITY    3
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